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 9
10                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11                              WESTERN DIVISION
12
      JOHN DOE, on behalf of himself            )                      No.:
13    and all others similarly situated,        )
                                                )       CLASS ACTION COMPLAINT
14                 Plaintiff,                   )            FOR DAMAGES
            vs.                                 )
15                                              )
      U.S. HEALTHWORKS. Inc. a                  )
16    California Corporation; and DOES          )
      1-10 inclusive, ,                         )
17                                              )
                   Defendant.                   )
18                                              )
                                                )
19                                              )
20
21                              PRELIMINARY STATEMENT

22          1. This is a consumer class action by JOHN DOE on behalf of

23    himself (individually as “Plaintiff”) and all others similarly situated, (collectively as

24    “Plaintiffs”) against Defendant U.S. HEALTHWORKS (“HEALTHWORKS” or

25    “Defendant”) for violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681–

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 1    1681x (“FCRA”) and California Labor Code1 §1024.5 and California Civil Code
 2    §1785.20.5.
 3               2.        When employers like HEALTHWORKS use consumer-background
 4    reports or “consumer reports” as a factor in their decision to hire, promote, reassign,
 5    or terminate employees, the FCRA imposes certain strictures on those employers.
 6    Specifically, the FCRA requires that an employer first disclose its intent to use a
 7    background report in its hiring decision and must obtain the prospective employee’s
 8    written authorization to do so, and the employer’s disclosure must be “in a document
 9    that       consists        solely      of     the      disclosure.”         15     U.S.C.   §   1681b(b)(2)(A).
10    HEALTHWORKS failed to meet this most-simple of requirements, as its disclosure
11    of intent and authorization to use a background report also contained a purported
12    release of the prospective employee’s claims and does not consist solely of the
13    disclosure.
14               3.        The FRCA also imposes upon employers who use consumer reports to
15    make hiring decisions the requirement that—before taking an adverse action—the
16    employer provide the prospective employee with a copy of the report and a summary
17    of the employee’s FCRA rights. This is called a “pre-adverse action notice”.
18               4.        HEALTHWORKS failed to provide said notice to Plaintiff before
19    taking adverse action against him on the basis of such report.
20               5.        HEALTHWORKS also failed to provide Plaintiff with any notice
21    required under 15 U.S.C. §1681b(b)(2)(A) relating to its intent to procure a
22    consumer report outside of an inconspicuous statement nestled in the employment
23    application that its job offer is contingent upon the successful completion of a
24    background check.
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          All state statutory references are to California unless otherwise specified.
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 1            6.    Rather, the first time Plaintiff received any notice is after the employer
 2    had already taken adverse action where he was informed by phone that he would not
 3    be hired. He never saw a copy of his report until his attorney served a notice under
 4    Labor Code §432 and Civil Code §1786.16 requesting a copy of his employment
 5    application and background screening files.
 6            7.    HEALTHWORKS procured Plaintiff’s report from a consumer
 7    reporting agency named ADP.
 8            8.    The consumer report contained not only criminal history information
 9    but also detailed credit information.
10            9.    In a section entitled “Credit Report”, ADP disclosed credit history
11    information including collection accounts, credit accounts, and student loan
12    accounts.
13            10.   The employment position offered to Plaintiff was a non-exempt non-
14    managerial and hourly position with no access to consumer financial information; no
15    access to cash in excessive of $10,000; not conferred any authority as a named
16    signatory or to execute any contracts or transfer any money on behalf of the
17    employer.
18            11.   Plaintiff was scheduled for an entry-level position and to be paid an
19    hourly rate of $14.00 per hour.
20            12.   HEALTHWORKS improperly sought, obtained, and considered such
21    information in denying Plaintiff’s employment in direct violation of California Labor
22    Laws.
23            13.   Plaintiff brings claims for these violations of the Labor Code, Civil
24    Code, and the FCRA for himself and all individuals in the Classes described below.
25    //
26    //
27    //
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 1                             JURISDICTION AND VENUE
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 3          14.   Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28 U.S.C.
 4    § 1331 and supplemental jurisdiction exists for the state law claims under 28 U.S.C.
 5    § 1367.
 6          15.   Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).
 7
 8                                          PARTIES
 9
10          16.   Plaintiff John Doe is an adult individual who at all times relevant hereto
11    resided in Los Angeles, California.
12          17.   Defendant HEALTHWORKS is a California Corporation.
13
14                                   APPLICABLE LAW
15
16          18.   Section 1681b(b)(2)(A) of the FCRA regulates the conduct of persons
17    who obtain a “consumer report” about employees or prospective employees as
18    follows (with emphasis added):
19          Except as provided in subparagraph (B) [in cases of a consumer
            applying for a position over which the Secretary of Transportation may
20          establish qualifications], a person may not procure a consumer report, or
            cause a consumer report to be procured, for employment purposes with
21          respect to any consumer, unless –
22                a.     a clear and conspicuous disclosure has been made in
                         writing to the consumer at any time before the report is
23                       procured or caused to be procured, in a document that
                         consists solely of the disclosure, that a consumer report may
24                       be obtained for employment purposes; and
25                b.     the consumer has authorized in writing (which
                         authorization may be made on the document referred to in
26                       clause (a)) the procurement of the report by that person.
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 1          19.    Section 1681b(b)(2)(A) therefore imposes upon Defendant the duty to
 2    provide a “clear and conspicuous” disclosure to prospective or current employees
 3    that a consumer report about them will be procured. Further, section 1681b(b)(2)(A)
 4    mandates that the disclosure must be limited only to a disclosure that a consumer
 5    report may be obtained for employment purposes and to the written authorization of
 6    the prospective or current employee; no other documents or provisions are allowed.
 7    Section 1681b(b)(2)(A) thus prohibits Defendant from including or obtaining other
 8    information as part of the disclosure such as a release or waiver of rights or by using
 9    multiple, conflicting documents to obtain the authorization.
10          20.    Additionally, section 1681b(b)(3)(A) of the FCRA regulates the conduct
11    of any person who uses a “consumer report” to take an adverse action against any
12    employees or prospective employees as follows:
13          Except as provided in subparagraph (B) [in cases of a consumer
            applying for a position over which the Secretary of Transportation may
14          establish qualifications], in using a consumer report for employment
            purposes, before taking any adverse action based in whole or in part on
15          the report, the person intending to take such adverse action shall provide
            to the consumer to whom the report relates –
16
                   i.    a copy of the report; and
17
                   ii.   a description in writing of the rights of the consumer under
18                       this subchapter, as prescribed by the Federal Trade
                         Commission under section 1681g(c)(3) of this title.
19
            21.    The purpose of section 1681b(b)(3)(A) is to provide a prospective or
20
      current employee a sufficient amount of time to review the consumer report, correct
21
      any inaccuracies, and to notify the prospective employer of these inaccuracies before
22
      an adverse action is taken.
23
            22.    Labor Code §1204.5(1) broad prohibits the procurement of employment
24
      credit checks except for certain enumerated circumstances not applicable here.
25
            23.    Civil Code §1785.20.5 also requires written notice to the consumer that
26
      a credit report will be used and the specific basis under subdivision (a) of Section
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 1    1024.5 of the Labor Code for use of the report. The notice shall also inform the
 2    person of the source of the report, and shall contain a box that the person may check
 3    off to receive a copy of the credit report.
 4           24.    No such notice was ever provided here.
 5
 6                                 FACTUAL ALLEGATIONS
 7
 8    A.     Disclosure of Intent to Obtain Background Report Not in a “Stand
             Alone” Document and Not “Clear and Conspicuous”
 9
             25.    The FCRA defines a “consumer report” as “any written, oral, or other
10
      communication of any information by a consumer reporting agency bearing on a
11
      consumer’s credit worthiness, credit standing, credit capacity, character, general
12
      reputation, personal characteristics, mode of living which is used or expected to be
13
      used for . . .” among other things “(B) employment purposes.” (emphasis added).
14
             26.    The FCRA limits the use of consumer reports, including background
15
      reports like those at issue in this case, to only certain instances.
16
             27.    When an employer like Defendant chooses to screen applicants by using
17
      background reports, it subjects itself to the strictures of the FCRA.
18
             28.The FCRA explicitly requires that the disclosure of an employer’s intent to
19
      obtain a background report on an applicant be contained in a “stand alone”
20
      document, and that the authorization be “clear and conspicuous.”
21
             29.    Defendant is a nationwide health provider that specializes in work-
22
      related injuries.
23
             30.    As part of its hiring process, Defendant discloses, in its standardized
24
      application that any contingent offer of employment will depend on a successful
25
      completion of background check.
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 1          31.      On information and belief, job applicants throughout all of Defendant’s
 2    locations does not provide a notice compliant with 15 U.S.C. §1681b(b)(2)(A) in that
 3    they do not receive clear and conspicuous disclosure that consists solely of the
 4    disclosure that a consumer report may be procured for employment purposes.
 5          32.      As part of the initial application process, Defendant includes the
 6    following print as part of its employment application:
 7                “I understand that any job offer is also contingent upon the successful
                  completion of a background check to include motor vehicle report,
 8                credit report and criminal records report…”
 9          33.      No additional disclosure was ever provided to Plaintiff.
10          34.      The above-described disclosure is in fine print and disclosed as a bullet
11    item among other types of disclosures including disclosures related to post offer
12    medical examination, drug test, verification of prior employment, certification of
13    accuracy of disclosures in the employment application, etc.
14          35.      The above-described disclosure is also part of a 7-page employment
15    application and not a standalone disclosure as required under the FCRA.
16
17    B.    No Pre-Adverse Action Notice
18
19          36.      Separate from the requirement that employers use clear, stand-alone
20    documents to obtain authorizations to procure background reports for employment
21    uses, the FCRA also requires that employers provide consumers with notice before
22    basing an adverse-employment action against consumers on information contained in
23    those reports.
24          37.      Defendant does not provide such notices to consumers prior to taking
25    adverse action. Rather, the only notice consumers received is after their employment
26    application has been denied.
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 1          38.     Specifically, on June 5, 2014, Plaintiff was extended a formal written
 2    offer of employment contingent upon: 1) satisfactory drug screen results; 2)
 3    provision of documents of legal work status in the U.S. on the first day of work; and
 4    3) satisfactory background check.
 5          39.     Plaintiff satisfactory passed his drug screen but his consumer report
 6    disclosed the existence of criminal history and adverse credit information.
 7          40.     Plaintiff is informed and believes and thereon alleges that on or after
 8    June 24, 2014, a representative from HEALTHWORKS called Plaintiff informing
 9    him that he would not be employed due to the contents of the consumer report.
10          41.     Plaintiff never received a copy of the report and it was not until his
11    attorneys made a request for information under Labor Code §432 and Civil Code
12    §1786.16 that a copy of the report was disclosed, for the first time, on March 18,
13    2015, almost 9 months following the denial of his employment.
14          42.     Defendant’s conduct is a clear violation of 15 U.S.C. §1681b(b)(3)
15    requiring notice and reasonable opportunity to dispute the information prior to taking
16    adverse action against Plaintiff.
17
18    C.    Facts Common to Plaintiff and Similarly Situated Consumers
19
20          43.     Plaintiff is informed and believes, and on that basis alleges that
21    Defendant uses a standard application for all job applicants who wish to apply for
22    employment with Defendant.
23          44.     Plaintiff is informed and believes, and on that basis alleges that the
24    standard application contains the disclosures as described in paragraph 32 above.
25          45.     Plaintiff alleges that the process of disclosure described in paragraph 32
26    above was routinely used by Defendant for all or nearly all of its employment
27    applicants.
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 1          46.   Defendant procured consumer reports for Plaintiff and those similarly
 2    situated for employment purposes without first obtaining their written authorization
 3    to do so with a clear and conspicuous written disclosure in a document that consists
 4    solely of the disclosure that a consumer report may be obtained for employment
 5    purposes.
 6          47.   Plaintiff is informed and believes, and on that basis alleges that
 7    Defendant routinely failed to provide any pre-adverse action notice compliant with
 8    15 U.S.C. §1681b(b)(3) prior to the taking of adverse action against consumers
 9    including the denial of employment.
10          48.   This failure by Defendant to give any sort of notice before taking an
11    adverse action against Plaintiff and other applicants violated a well-established
12    FCRA requirement.
13
      D.    Defendant Acted Willfully
14
15
            49.   Defendant’s procedures and conduct were willful. They were carried out
16
      in the manner that Defendant intended and not by mere accident or mistake.
17
            50.   The statutory language and mandates restricting and governing
18
      Defendant’s business have been in effect for decades.
19
            51.   Defendant’s conduct was at least reckless in failing to make an
20
      appropriate and effective effort to ascertain the FCRA provisions governing its
21
      conduct.
22
            52.   Defendant knew or should have known about its legal obligations under
23
      the FCRA. These obligations are well established in the plain language of the FCRA
24
      and in case law applying those provisions.
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 1          53.    Defendant obtained or had available substantial written materials that
 2   apprised it of its duties under the FCRA. Any reasonable employer knows about or
 3   can easily discover these mandates.
 4          54.    Despite at least the constructive knowledge of these legal obligations,
 5   Defendant acted consciously in breaching its known duties and depriving Plaintiff,
 6   and similarly situated individuals, of their rights under the FCRA.
 7          55.    Moreover, prior to procurement of any consumer report, an employer
 8   such as Defendant was required to certify to the consumer reporting agency that it
 9   has complied with the disclosure requirements as specified under 15 U.S.C.
10   §1681b(b)(2)(A)(i) and that it will comply with the pre-adverse action notice
11   requirements under §1681b(b)(3)(A).
12          56.    As a result of these FCRA violations, Defendant is liable to Plaintiff and
13   similarly situated individuals for statutory damages from $100 to $1,000 pursuant to
14   15 U.S.C. § 1681n(a)(1)(A), plus punitive damages pursuant to 15 U.S.C. §
15   1681n(a)(2) for the FCRA violations alleged herein, and for attorney’s fees and costs
16   pursuant to § 1681n and § 1681o.
17          57.    Apart from the FCRA violations, Defendant is liable to Plaintiff and
18   similarly situated individuals under the CCRAA for punitive damages of between
19   $100 and $5,000 per Class Member as well as equitable relief pursuant to CAL. CIV.
20   CODE § 1785.31(a)(2)(B), (b).
21          58.    In the alternative to the Plaintiffs’ allegations that these violations were
22   willful, they allege that the violations were negligent and will seek certification of
23   that issue.
24          59.    Defendant was also well aware of California statutory requirements
25   related to the procurement and use of credit reports. Despite this clear statutory duty,
26   Defendant illegally procured credit reports and failed to provide Plaintiff, and those
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 1   similarly situated, notice relating to the statutory basis for which credit reports were
 2   procured.
 3                           CLASS ACTION ALLEGATIONS
 4
 5   A.    The FCRA Class
 6         60.    Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this
 7   action on behalf of himself and the following Class, initially defined as follows:
 8         All employees or prospective employees of Defendant residing in the
           United States (including all territories and other political subdivisions of
 9         the United States) who were the subject of a consumer report which was
           used by Defendant to make an employment decision during the FCRA
10         statute of limitations period, 15 U.S.C. §1681p, next preceding the filing
           of this action and during its pendency.
11
     B.    The FCRA Sub-Classes
12
           61.    Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this
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     action on behalf of himself and the following Sub-classes, initially defined as
14
     follows:
15
           a.     All employees or prospective employees of Defendant residing in
16                the United States (including all territories and other political
                  subdivisions of the United States) who were the subject of a
17                consumer report which was used by Defendant to make an
                  employment decision during the FCRA statute of limitations
18                period, 15 U.S.C. §1681p, next preceding the filing of this action
                  and during its pendency, against whom Defendant took an adverse
19                action based in whole or in part on information contained in the
                  consumer report before providing a copy of the consumer report
20                as required by the FCRA, 15 U.S.C. § 1681b(b)(3)(A)(i);
21         b.     All employees or prospective employees of Defendant residing in
                  the United States (including all territories and other political
22                subdivisions of the United States) who were the subject of a
                  consumer report which was used by Defendant to make an
23                employment decision during the FCRA statute of limitations
                  period, 15 U.S.C. §1681p, next preceding the filing of this action
24                and during its pendency, against whom Defendant took an adverse
                  action based in whole or in part on information contained in the
25                consumer report before providing a description in writing of the
                  rights of the consumer under the FCRA, as required by the FCRA,
26                15 U.S.C. §1681b(b)(3)(A)(ii).
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 1   D.    The California Labor Code Sub-Class
 2
 3         62.   Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this
 4   action on behalf of himself and the following Sub-classes, initially defined as
 5   follows:
 6
                 All employees or prospective employees of Defendant residing in
 7               California who were the subject of a consumer credit report within the 2
 8               year period from the filing of this action to the final resolution of this
                 action who were not provided with the notice required under Civil Code
 9               §1785.20.5.
10
11
     E.    Application of Rule 23 to the Classes
12
           63.   Numerosity – FED. R. CIV. P. 23(a)(1). The Class members are so
13
     numerous that joinder of all is impractical. The names and addresses of the Class
14
     members are identifiable through documents maintained by the Defendant, and the
15
     Class members may be notified of the pendency of this action by published and/or
16
     mailed notice.
17
           64.   Existence and Predominance of Common Questions of Law and
18
     Fact – FED. R. CIV. P. 23(a)(2) and (b)(3). Common questions of law and fact exist
19
     as to all members of the Classes. These questions predominate over the questions
20
     affecting only individual members. These common legal and factual questions
21
     include, among other things:
22
                 a.    Whether Defendant’s employment application included a
23                     standalone document that contained only the “clear and
                       conspicuous” disclosure mandated by section 1681b(b)(2)(A);
24
                 b.    Whether Defendant’s procedure violated section 1681b(b)(2)(A)
25                     by failing to make a “clear and conspicuous” disclosure in a
                       document that consists solely of the disclosure;
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                  c.     Whether Defendant’s standard procedure of denying employment
 1                       without first providing the disclosures required by section
                         1681b(b)(3)(A) violated the FCRA;
 2
 3                d.     Whether Defendant violated Civil Code §1785.20.5 by failing to
                         provide the required notice prior to procuring credit reports on
 4                       California employees;
 5                e.     Whether Defendant knowingly and intentionally acted in
                         conscious disregard of the rights of consumers.
 6
           65.    Typicality – FED. R. CIV. P. 23(a)(3). Plaintiff’s claims are typical of
 7
     the claims of each Class Member. For class certification purposes, Plaintiff seeks
 8
     only statutory and punitive damages. Plaintiff would only seek individual or actual
 9
     damages if class certification is denied. In addition, Plaintiff is entitled to relief under
10
     the same causes of action as the other members of the Classes.
11
           66.    Adequacy of Representation – FED. R. CIV. P. 23(a)(3). Plaintiff is an
12
     adequate representative of the Classes because his interests coincide with, and are
13
     not antagonistic to, the interests of the members of the Classes he seeks to represent,
14
     he has retained counsel competent and experienced in such litigation, and he intends
15
     to prosecute this action vigorously. FED. R. CIV. P. 23(a)(4). Plaintiff and his
16
     Counsel will fairly and adequately protect the interests of members of the Classes.
17
           67.    Superiority – Fed. R. Civ. P. 23(b)(3). Questions of law and fact
18
     common to the Class Members predominate over questions affecting only individual
19
     members, and a class action is superior to other available methods for fair and
20
     efficient adjudication of the controversy. FED. R. CIV. P. 23(b)(3). The statutory and
21
     punitive damages sought by each member are such that individual prosecution would
22
     prove burdensome and expensive given the complex and extensive litigation
23
     necessitated by Defendant’s conduct. It would be virtually impossible for the
24
     members of the Classes individually to redress effectively the wrongs done to them.
25
     Even if the members of the Classes themselves could afford such individual
26
     litigation, it would be an unnecessary burden on the courts. Furthermore,
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 1   individualized litigation presents a potential for inconsistent or contradictory
 2   judgments and increases the delay and expense to all parties and to the court system
 3   presented by the complex legal and factual issues raised by Defendant’s conduct. By
 4   contrast, the class action device will result in substantial benefits to the litigants and
 5   the Court by allowing the Court to resolve numerous individual claims based upon a
 6   single set of proof in just one case.
 7         68.    Injunctive Relief Appropriate for the Class. Class certification is
 8   appropriate because Defendant has acted on grounds generally applicable to the
 9   Classes, making appropriate equitable injunctive relief with respect to Plaintiff and
10   the Class Members. FED. R. CIV. P. 23(b)(2); see CAL. CIV. CODE § 1785.31(b).
11
12                                  CLAIMS FOR RELIEF
13
14           COUNT I—VIOLATION OF FCRA SECTION 1681b(b)(2)(A)(i)
15         69.    Plaintiff restates each of the allegations in the preceding paragraphs as if
16   set forth at length herein.
17         70.    Defendant willfully violated the FCRA, 15 U.S.C. § 1681b(b)(2)(A)(i),
18   because it failed to provide a clear and conspicuous written disclosure in a document
19   that consists solely of the disclosure to applicants and employees that a consumer
20   report may be obtained for employment purposes.
21         71.    Plaintiff seeks statutory damages for himself and all others similarly
22   situated for this violation pursuant to 15 U.S.C. § 1681n(a)(1)(A).
23         72.    Plaintiff seeks punitive damages and equitable relief for this violation
24   pursuant to 15 U.S.C. § 1681n(a)(2).
25         73.    In the alternative to the Plaintiff’s allegations that these violations were
26   willful, he alleges that the violations were negligent and seeks issue certification of
27   that issue and appropriate remedy, if any, under 15 U.S.C. § 1681o.
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 1
 2             COUNT II—VIOLATION OF FCRA SECTION 1681b(b)(3)(A)(i)
 3
 4         74.     Defendant willfully violated the FCRA, 15 U.S.C. §1681b(b)(3)(A)(i),
 5   because it failed to provide a copy of the consumer report used to make an
 6   employment decision to Plaintiff and all other similarly situated applicants and
 7   employees before taking an adverse action that was based in whole or in part on that
 8   report.
 9         75.     Plaintiff seeks statutory damages for himself and all others similarly
10   situated for this violation pursuant to 15 U.S.C. § 1681n(a)(1)(A).
11         76.     Plaintiff seeks punitive damages and equitable relief for this violation
12   pursuant to 15 U.S.C. § 1681n(a)(2).
13         77.     In the alternative to the Plaintiff’s allegations that these violations were
14   willful, they allege that the violations were negligent and seek issue certification of
15   that issue and appropriate remedy, if any, under 15 U.S.C. §1681o.
16
17                COUNT III—VIOLATION OF FCRA § 1681b(b)(3)(A)(ii)
18
19         78.     Plaintiff restates each of the allegations in the preceding paragraphs as if
20   set forth at length herein.
21         79.     Defendant willfully violated the FCRA, 15 U.S.C. §1681b(b)(3)(A)(ii),
22   because it failed to provide Plaintiff and all other similarly situated applicants and
23   employees the summary of rights required by this section of the FCRA before taking
24   an adverse action that was based in whole or in part on a consumer report.
25         80.     Plaintiff seeks statutory damages for themselves and all others similarly
26   situated for this violation pursuant to 15 U.S.C. § 1681n(a)(1)(A).
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 1         81.    Plaintiff seeks punitive damages and equitable relief for this violation
 2   pursuant to 15 U.S.C. § 1681n(a)(2).
 3         82.    In the alternative to the Plaintiff’s allegations that these violations were
 4   willful, he alleges that the violations were negligent and seek issue certification of
 5   that issue and appropriate remedy, if any, under 15 U.S.C. §1681o.
 6
 7                COUNT IV—VIOLATION OF CIVIL CODE §1785.20.5
 8         83.    Plaintiff restates each of the allegations in the preceding paragraphs as if
 9   set forth at length herein.
10         84.    Defendant willfully violated the Civil Code §1785.20.5, because
11   procured and/or obtained consumer credit reports without providing the required
12   notice.
13         85.    Plaintiff seeks statutory damages including treble damages for himself
14   and all others similarly situated for this violation pursuant to Civil Code §1785.31.
15
16       COUNT V—VIOLATION OF CALIFORNIA LABOR CODE §1024.5
17         86.    Plaintiff restates each of the allegations in the preceding paragraphs as if
18   set forth at length herein.
19         87.    Defendant willfully and/or negligently violated California Labor Code
20   §1024.5 by obtaining a credit report for a position not enumerated as an exception
21   under Cal. Lab. C. §1024.5.
22         88.    The credit report was completed on or about Friday June 20, 2014.
23         89.    Plaintiff is informed and believes and thereon alleges that he was
24   informed that the written offer of employment was revoked on or after the following
25   Monday on June 24, 2014.
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 1              90.     The credit report was never provided to Plaintiff until March 18, 2015
 2   following Plaintiff’s counsel’s February 23, 2015 file request made pursuant to Cal.
 3   Lab. C. §432, Cal. Civ. C. §1786.16 and 15 U.S.C. §1681g.
 4              91.     Plaintiff provided notice by certified mail to the Labor and Workforce
 5   Development Agency and the employer in compliance with Cal. Lab. C. §2699.3 on
 6   June 22, 2015 and within the applicable statute of limitations under Cal. Code Civ.
 7   Proc. §340(a),
 8              92.     Pursuant to Cal. Lab. C. §2699.3(c), Plaintiff hereby commences the
 9   instant action following the 33-day safe harbor period for an employer to cure the
10   violation. As of the date of the filing of this Complaint, no notice of cure has been
11   provided by Defendant pursuant Cal. Lab. C. §2699.3(c)(2)(A).
12              93.     Plaintiff timely commenced this action pursuant to Cal. Lab. C.
13   §2699.3(d) [see also Moreno v. Autozone, Inc., 2007 U.S. Dist. LEXIS 43873 (N.D.
14   Cal. June 5, 2007) [“Section 2699.3(d) is clearly intended to toll the limitations
15   period for bringing a civil action to recover PAGA penalties while the plaintiff is
16   pursuing administrative remedies.”]).
17              94.     Moreover, because the 33-day period falls within a Saturday, the statute
18   of limitations for the filing of this Complaint is tolled pursuant to Cal. Civ. C.
19   §12a(a).2
20   //
21   //
22   //
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     2
         See also FRCP Rule 6(a)(1)(B).
27
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 1         95.   Plaintiff hereby brings a private cause of action pursuant to California’s
 2   Private Attorney General’s Act to recover civil penalties on behalf of those similarly
 3   situated.
 4
 5   Date: July 27, 2015                                  Respectfully submitted,
 6                                                  /s/ Devin H. Fok
 7                                                  Devin H. Fok (SBN 256599)
                                                    DHF LAW
 8                                                  234 E. COLORADO BLVD., 8TH FLOOR
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